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                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

Jennifer Gillis and Tory Gillis,        §
Individually and on behalf of the       §
Estate of J.G., a minor,                §
                                        §
      Plaintiffs,                       §
                                        §
v.                                      §
                                        §           Case 5:22-cv-00080-DAE
Community Products, LLC d/b/a Rifton    §
Equipment, Church Communities NY Inc., §
North East Independent School District, §
and Medical Wholesale, LLC,             §
                                        §
      Defendants.                       §

     Plaintiffs’ Unopposed Motion to Extend the Deadline to Respond to
  Defendant Church Communities NY Inc.’s Motion to Dismiss so Plaintiffs
                    May Conduct Jurisdictional Discovery

       Plaintiffs respectfully request that the Court to grant their unopposed motion for limited

jurisdictional discovery and to extend their deadline for filing a response to Defendant Church

Communities NY Inc.’s 12(b)(2) Motion to Dismiss by 70 days because:

   1. The Court has broad discretion to allow jurisdictional discovery when a defendant
      challenges personal jurisdiction and Defendant Church Communities NY Inc. (“Church
      Communities”) does not oppose Plaintiff’s request;

   2. Publicly available information indicates that Defendant Church Communities NY Inc.
      (“Church Communities”) has a complicated business and legal structure that can only be
      further understood by jurisdictional discovery. and

   3. This limited publicly available information also strongly indicates that Church
      Communities is an alter ego of Community Products. However, without jurisdictional
      discovery, it would be impossible for Plaintiffs to prove or disprove alter ego status.
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                                                  I.

                                            Background

       This case arises out of a tragic, wrongful death of a minor child. On or about November

4, 2020, J.G., a four-year-old with learning and physical disabilities, was strangled to death by the

Rifton Activity Chair 830 he was using. The Rifton Activity Chair in use at the time of the tragic

incident resulting in J.G.’s death is believed to have been designed, manufactured, distributed,

marketed, and sold by Community Products and Church Communities. Plaintiffs sued these

entities for their product’s role in causing the wrongful death of their son.

       Church Communities filed a 12(b)(2) Motion to Dismiss alleging lack of personal

jurisdiction on June 3, 2022. See Doc. #11. The essence of Church Communities’ argument is

that it had no involvement with the product at issue and is merely the parent company of the entity

that was involved. See id.     However, upon information and belief, Church Communities has

conducted and continues to conduct a substantial amount of business in Texas, specifically through

their sales and distribution of their adaptive equipment such as the Rifton Activity Chair 830. But

Church Communities’ complicated business structure makes it difficult to ascertain which entities

are involved in the business operations that lead to J.G.’s tragic death.

       Based on publicly available information alone, Plaintiffs believe limited jurisdictional

discovery will aid them in fully demonstrating the required minimum contact to establish personal

jurisdiction. In the alternative, Plaintiffs also expect such discovery to reveal that Church

Communities and Community Products are alter egos of each other, and therefore personal

jurisdiction attaches to both parties. Plaintiffs respectfully request that the Court grant Plaintiffs

the ability to conduct limited jurisdictional discovery and continue the hearing on the Motion to

Dismiss until after such discovery is complete.

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                                                II.

                          The Court Should Grant Plaintiff’s Motion

       The Court “has broad discretion to permit a party to conduct jurisdictional discovery.”

Wyatt v. Kaplan, 686 F.2d 276, 283 (5th Cir. 1982). Moreover, Church Communities does not

oppose Plaintiffs’ motion. And, Plaintiffs have already sent written jurisdictional discovery

requests and requested the deposition of a corporate representative who can testify on a variety of

jurisdictional issues. See Ex. A. Plaintiffs believe that the jurisdictional discovery will show the

connection between Church Communities and Community Products. Consequently, Plaintiffs

respectfully request that the Court grant this motion.

                                                III.

                                            Conclusion

       The Court should grant Plaintiffs’ motion to conduct limited jurisdictional discovery and

extend Plaintiffs’ deadline for filing a response to Church Communities 12(b)(2) Motion to

Dismiss pending the limited discovery.

                                                         Respectfully submitted,

                                                         ARNOLD & ITKIN LLP

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                            CERTIFICATE OF CONFERENCE

       I certify that counsel for Plaintiffs has conferred with counsel for Defendants in a good
faith effort to resolve the issue raised in this motion and that counsel for Defendants is
unopposed as to the disposition of this motion.


                                              /s/ Cory Itkin
                                              Cory Itkin



                                CERTIFICATE OF SERVICE

       This is to certify that on June 16, 2022, the foregoing was electronically filed the with the
Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all parties by
operations of the Court’s Electronic filing system. Parties may access this filing through the
Court’s system.
                                                      /s/ Cory D. Itkin
                                                      Cory D. Itkin




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